Case 1:19-cv-01080-RM-MEH Document 48 Filed 12/06/19 USDC Colorado Page 1 of 1



                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

  Civil Action No. 19-cv-01080-RM-MEH

  POPSOCKETS, LLC

         Plaintiff,

  v.

  LORA SUZANNE WILCOX,
  BRADLEY JAMES WILCOX, and
  JOHN DOES 1-10, individually and as corporate entities,

         Defendants.


                                         MINUTE ORDER

  Entered by Michael E. Hegarty, United States Magistrate Judge, on December 6, 2019.

          The Court will hold a Discovery Conference in this case on Monday, January 6, 2020 at
  10:30 a.m. in Courtroom A-501, on the fifth floor of the Alfred A. Arraj United States Courthouse
  located at 901 19th Street, Denver, Colorado.

          If this date is not convenient, the parties shall confer and contact my Chambers by email at
  hegarty_chambers@cod.uscourts.gov to obtain an alternate date. All parties must be copied on the
  email if they agree to change the conference date; otherwise, any party seeking to change the
  conference date must file a motion. Absent exceptional circumstances, no request for rescheduling
  will be entertained unless made five business days prior to the date of the conference.

         The pro se Defendants may appear at the conference by telephone by calling my chambers
  at (303) 844-4507 at the appointed time. Counsel for the Plaintiff shall appear in person unless
  otherwise permitted to appear by telephone on a showing of good cause.

         The parties shall submit any information/documents they believe may be helpful to the
  resolution of the issue(s) on or before January 3, 2020 at noon to
  hegarty_chambers@cod.uscourts.gov.
